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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

IN RE: SUBPOENA TO NON-PARTY
LINDSEY O. GRAHAM in his official
capacity as United States Senator,

In the matter of:                                          CIVIL ACTION NO.
                                                           1:22-cv-03027-LMM
SPECIAL PURPOSE GRAND JURY,
FULTON COUNTY SUPERIOR
COURT CASE NO. 2022-EX-000024

                 RESPONSE IN OPPOSITION
  TO SENATOR LINDSEY O. GRAHAM’S SUPPLEMENTAL MOTION

      Following this Court’s denial of both his motion to quash the subpoena

issued to him by the Fulton County Special Purpose Grand Jury and his Motion to

Stay proceedings pending appeal, Senator Lindsey O. Graham filed a second

Motion to Stay in the Eleventh Circuit Court of Appeals. The Eleventh Circuit

granted a temporary stay in order for this Court to address the question of whether

Senator Graham is entitled to “partial quashal” of his subpoena. This Court ordered

the Senator to brief the issue and ordered the District Attorney to respond. In short,

Senator Graham’s repetition of his previous arguments does not entitle him to

partial quashal, and the District Attorney respectfully requests that his motion be

denied.
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                                    ARGUMENT

      For the third time in a single month, Senator Lindsey Graham has presented

arguments to this Court insisting that it must entirely quash the subpoena issued to

him by the Fulton County Special Purpose Grand Jury. In this third iteration of

Senator Graham’s arguments, just as in the prior two, there is no role for this Court

other than to serve as a rubber stamp for his own conclusions. Even in a motion

purportedly requesting partial quashal, Senator Graham insists that each and every

possible topic of grand jury inquiry is forbidden. In so doing, the Senator ignores

the facts that have been presented, the findings of this Court, and the historic

limitations placed upon the Speech or Debate Clause by the Supreme Court.

Because the subpoena does not require the disclosure of privileged or other

protected matter, this Court should deny the Senator’s motion.

   A. The Phone Calls and “Investigative” Activity

      Provided with an opportunity to demonstrate to this Court that his subpoena

should be narrowed or partially quashed, Senator Graham has decided to once

again argue that every avenue of inquiry available to the Special Purpose Grand

Jury requires quashal. Because Senator Graham largely repeats the same

arguments he has already presented, he has failed to respond to this Court’s own

findings. The most glaring example of this is the heart of the Senator’s position:

that his phone calls to Secretary Raffensperger were, by the nature, inherently


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legislative acts, and the Special Purpose Grand Jury’s inquiry actually only

contemplates the phone calls. This is precisely the opposite of what this Court has

found: “the specific activity at issue involves a Senator from South Carolina

making personal phone calls to state-level election officials in Georgia concerning

Georgia’s election processes and the results of the state’s 2020 election. On its

face, such conduct is not a ‘manifestly legislative act.’” Doc. 27 at 12. “Over and

again, the District Attorney has demonstrated an intention to question Senator

Graham on issues that are not related to the phone calls themselves and—even

more importantly—are not related to legitimate legislative activity as defined by

the Supreme Court.” Doc. 37 at 7. The Senator has no response to this, except to

insist once again that actually, the calls are manifestly legislative in their entirety

because he later performed his duties under the Electoral Count Act1, and that any

disagreement about their nature devolves to questions of implications and


1
      As the District Attorney has previously argued, Doc. 18 at 17 n.15, the
Senator’s suggestion that the phone calls were legislative because he later held an
elections-related hearing of the Judiciary Committee cannot withstand even
casual scrutiny: the one hearing conducted by the Senator concerning the election
called the executives of Facebook and Twitter as witnesses in order to discuss
“censorship” of opinions on social media. No serious contention can be made that
this hearing had anything to do with Movant’s phone calls to Secretary
Raffensperger. Similarly thin is the Senator’s argument that his conversation with
Raffensperger about idiosyncrasies of signature verification in Georgia, or about
an upcoming runoff election, was an obvious precursor to his eventual co-
sponsoring of a bill altering certification procedures under the Electoral Count
Act. See Doc. 40-1 at 6. It is not clear at all how changing Senate procedures
under the Act “correct[s] flaws he discovered during his investigation.”

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motivations. But this too was addressed in this Court’s order denying the motion

to quash: “the Court cannot simply accept Senator Graham’s conclusory

characterizations of these calls and reject others’—indeed, such an approach has

been expressly rejected by other courts facing the same issue.” Doc. 27 at 13.

     The only arguments advanced by Senator Graham that do not ignore the

findings of this Court concern the nature of “informal investigative inquiries by

individual members of Congress.” The Senator argues that the phone calls are part

of his individual investigation, that such investigations are clearly protected under

the Speech or Debate Clause, and that therefore any questions about the phone

calls should be forbidden. Doc. 40-1 at 9-13.

     First, the District Attorney observes that the Supreme Court has never settled

this question. While formal, authorized congressional investigations have received

protection under the Speech or Debate Clause in most circumstances, “[t]he

question of whether informal investigations and information-gathering [are]

equally covered, however, is less clear.” Williams v. Johnson, 597 F. Supp. 2d

107, 114 (D.D.C. 2009) (emphasis original). Federal courts “are divided on the

question[]” of whether the Speech or Debate Clause “covers informal information

gathering by Members [of Congress] or their staff.” Jewish War Veterans v.

Gates, 506 F. Supp. 2d 30, 55 (D.D.C. 2007) (emphasis original). In discussing

the so-called “informing function” of Congress, the Supreme Court has


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“concluded that the term described ‘congressional efforts to learn of the activities

of the Executive Branch and administrative agencies,’ rather than ‘wide-ranging

inquiries by individual Members on subjects of their choice.’” Id., citing

Hutchinson v. Proxmire, 443 U.S. 111, 132 (1979); see also Bastien v. Off. of

Senator Ben Nighthorse Campbell, 390 F.3d 1301, 1315 (10th Cir. 2004).

     However, even if informal investigations by individual members of

Congress are protected under the Speech or Debate Clause, the record does not

establish that the phone calls were a part of any such investigation by Senator

Graham. There is, of course, the matter of Secretary Raffensperger’s

understanding of what the calls were actually about, which he has maintained

consistently and repeatedly.2 No less significant are the corroborative statements

of Gabriel Sterling. Sterling said Raffensperger was “correct” and that Senator

Graham brought up the signature verification process in order to explore the

viability of a “potential court challenge,” not possible or proposed legislation.

Inquiring into possible routes of litigation, whether pursued by another state’s


2
       “Mr. Raffensperger said that when he was contacted by Mr. Graham Friday,
he thought the senator was calling about the state’s two senate races. After an
initial conversation, Mr. Graham called back again and brought up the idea of
invalidating absentee ballots from counties with higher rates of signature errors,
Mr. Raffensperger said, adding that he had staffers with him on that call.” Alexa
Corse, “Georgia’s GOP Secretary of State at Odds With GOP Senator Graham
Over Counting Ballots,” Wall Street Journal, Nov. 16, 2020, found at
https://www.wsj.com/livecoverage/latest-updates-biden-trump-election-
2020/card/w1UKQ1j1coZcJflTu6kf.

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elections officials or by the Trump Campaign itself, cannot possibly fall within the

ambit of “manifestly legislative activity” protected by the Clause. In addition, as

the District Attorney has previously observed, the Senator’s own statements fail to

establish a legislative purpose to the conversation. Senator Graham explicitly told

reporters that he had tried to persuade Raffensperger to adopt a different method

of signature verification, one which the Senator preferred to the method being

used at the time in Georgia. He went further to say that he wanted to discuss how

Raffensperger could make the process “better,” explicitly not for some future

legislative purpose, but to alter either the ongoing recounts or the upcoming

Senate runoff elections.3 Against these facts, the Senator offers only conclusory

arguments that the phone conversations involved legislative factfinding, and

legislative factfinding alone.

      Aside from dismissing the publicly available statements from the actual

participants on the call (including his own), Senator Graham’s arguments regarding

the nature of the telephone calls also entirely ignore the context in which the calls

were made. Senator Graham was not the only person with signature verification on

their minds on November 13, 2020. On the very same day that the Senator called


3
      See Video, https://www.nbcnews.com/politics/2020-election/georgia-
secretary-state-raffensperger-says-sen-graham-asked-him-about-n1247968;
Video,
https://archive.org/details/CNNW_20201118_010000_Anderson_Cooper_360/sta
rt/2400/end/2460.

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Secretary Raffensperger, attorney Lin Wood filed a filed a federal suit against

Raffensperger and the Georgia State Election Board. Wood’s lawsuit concerned a

settlement agreement between the State of Georgia and the Georgia Democratic

Party that had established procedures for notifying voters about problems with the

verification of their signatures on absentee ballots.4 Then, as Raffensperger has

recalled:

      Later that day, Senator Lindsey Graham (R-SC) called me to ask
      about our signature match procedure. I didn’t understand why Senator
      Graham would interject himself into a neighboring state’s affairs. He
      seemed to be concerned that some counties might have approved
      absentee ballot signatures that should have been marked invalid, and
      he seemed to imply that we could audit all signatures and throw out
      the ballots from counties that had the highest frequency of error rates.
      But no state can do that.5
Secretary Raffensperger’s recollection of the Senator’s “interjection” into Georgia

affairs, to say nothing of his recollection of the Senator’s suggestions for

discarding ballots from entire counties, does not support the Senator’s

characterization of the conversation as a product of his own curiosity or staid,

legitimate legislative investigation.

      Still later on that same day, former President Trump tweeted “Georgia

Secretary of State, a so-called Republican (RINO), won’t let the people checking

the ballots see the signatures for fraud. Why? Without this the whole process is


4
      Brad Raffensperger, Integrity Counts, 113 (2021).
5
      Id. at 114.

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very unfair and close to meaningless. Everyone knows that we won the state.

Where is [Governor Brian Kemp]?”6 Secretary Raffensperger did not fail to note

the significance of a lawsuit by one of the former president’s allies being filed on

the same day as telephone calls from the Senator, another of his allies, followed by

a statement by Trump himself, all focusing on the same issue. As Raffensperger

put it, “It was clear to me that Senator Graham and Lin Wood, both of whom are

lawyers, as well as President Trump, were all on the same page, and they didn’t

understand Georgia’s laws regarding absentee ballots.”7 The Senator opts to ignore

his public entanglement with the political interests of the former president, his

Campaign, and the claims made by both, entanglement which continues to the

present day.8

      The Senator’s repeated insistence that the calls were part of a legitimate

legislative investigation and absolutely nothing else ignores this context, as well as

the inherently inappropriate (and neither legitimate, ordinary, nor traditionally

legislative) nature of the phone calls themselves. A November 18, 2020, letter from

Walter M. Schaub, Jr., the former Director of the U.S. Office of Government

Ethics, does not mince words:

      On its face, [Senator Graham’s] explanation suggests misconduct.
      Any call by a sitting chairman of the Senate Judiciary Committee to a

6
      Id.
7
      Id.
8
      See https://www.nytimes.com/2022/08/25/magazine/jones-day-trump.html.

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      state election official during an ongoing count of votes is inherently
      coercive and points to an attempt to influence the outcome of the
      ballot counting. The allegation that Senator Graham placed a behind-
      the-scenes call to a member of his own political party, without having
      launched a formal investigation, suggests that he hoped to act out of
      public view. Even if your committee were to reject Secretary
      Raffensperger’s allegation regarding the content of the
      communication, the conduct Senator Graham has admitted is deeply
      troubling. There can be no legitimate reason for the Judiciary
      Committee’s chairman to call a top election official regarding an
      ongoing vote count.9
After noting that former President Trump’s tweet about signature verification came

on the very same day, Schaub reiterates, “Even if the Senate Select Committee on

Ethics were to reject Secretary Raffensperger’s account, the conduct to which

Senator Graham has overtly admitted is shocking from the standpoint of both

professional and personal ethics. There was no legitimate reason for the Judiciary

Committee’s chairman to call a top election official regarding an ongoing vote

count.” In a comment foreshadowing the Senator’s ongoing attempts to conflate

personal and political activities with legislative ones, Schaub observed that he had

“obliterated the distinction between personal capacity political opinions and

official actions with respect to this particular election controversy.”

      Thus, in order to conclude that the phone calls were comprised entirely of

sanctioned legislative factfinding, one would have to ignore


9
     See Letter of Claire O. Finkelstein, Richard W. Painter, and Walter M.
Schaub, Jr., found at https://www.law.upenn.edu/live/files/11121-ethics-
complaint-against-senator-lindsey-o-graham.

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     • Secretary Raffensperger’s consistent, repeated recollections of the Senator’s
       statements on the call;
     • Mr. Sterling’s corroboration of Raffensperger, as well as his recollection that
       the Senator was inquiring about prospective routes of litigation to challenge
       election results in Georgia, as well as about the upcoming Senate runoff
       elections (rather than proposed legislation);10
     • The Senator’s own statements to the media in the aftermath of the calls;
     • The simultaneous interest in the hyper-specific topic of Georgia’s signature
       verification procedures from attorney Lin Wood and former President
       Trump; and
     • At the most basic level, the transparently coercive and inappropriate nature
       of the Senator’s contact with another state’s elections official in the midst of
       a recount, particularly given the Senator’s outspoken and vehement public
       advocacy for his political ally, who was of course one of the interested
       parties in the recount and who was personally and publicly attacking
       Secretary Raffensperger at the time.

Against this, one must weigh Senator Graham’s insistence in this litigation that the

phone calls were legislative factfinding because he later voted as required under

the Electoral Count Act.

        The record simply does not support the Senator’s argument, certainly not

with sufficient weight to justify total quashal or even partial quashal targeting all

inquiry regarding the phone calls. The record justifies, at most, the approach

already proposed by this Court: that the Senator should appear for questioning,

while any disputes as to routes of inquiry or specific questions can be supervised




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     As it has noted before, the District Attorney’s Office will make additional
corroborative information, gathered in the course of the Special Purpose Grand
Jury’s investigation, available to this Court for in camera review if this Court
orders it to do so.

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by this Court.11 The record does not even support Senator Graham’s arguments for

partial quashal (such as they are) because, as this Court has noted, “carefully

framed questions” could avoid any prohibited inquiries without implicating the

Speech or Debate Clause at all. Doc. 27 at 14. As a result, the Senator’s arguments

that the phone calls were entirely comprised of legislative investigation and that

the subpoena contemplates only the phone calls and nothing else both fail. The

subpoena therefore does not “require” any protected or privileged information

under Rule 45(d)(3), both because questions may be framed to avoid any such

information and because the record does not establish that any such protection or

privilege even applies, and the Senator is not entitled to partial quashal under the

Rule.

     B. Other Topics



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      The method suggested by this Court draws upon the well-established
method of inquiry defined by the Third Circuit in Gov’t of the Virgin Islands v.
Lee, 775 F.2d 514, 522 (3d Cir. 1985). While the Senator continues to rely upon
United States v. Dowdy, 479 F.2d 213, 226 (4th Cir. 1973) for the proposition that
inquiry is forbidden into acts which are merely “purportedly or apparently
legislative, even to determine if they are legislative in fact,” Dowdy was
distinguished by the Third Circuit in Lee and read narrowly in light of the
Supreme Court’s holdings on the scope of the Speech or Debate Clause. There is
no indication that the Speech or Debate Clause has degraded into uselessness
within the Third Circuit in the decades since Lee was decided. As the Third
Circuit more recently summarized, “legislative immunity does not bar an inquiry
into whether a legislator's activities and conversations were, in fact, legislative in
nature.” United States v. James, 888 F.3d 42, 48 (3d Cir. 2018) (citing Lee, 775
F.2d at 517).

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      Senator Graham’s remaining arguments are again repetitive and have

already been addressed by this Court in its orders. First, the Senator again insists

that questions having nothing to do with the phone calls are merely (and

“admittedly”) “backdoor ways to question” the Senator about his legislative

motivations. Doc. 40-1 at 17-18. The Court has dismissed this concern: “[t]he

problem for Senator Graham is that the record thoroughly contradicts his

suggestion that the District Attorney and grand jury simply wish to use questions

on other topics as a ‘backdoor’ to asking him about the legislative fact-finding on

the phone calls.” Doc. 38 at 7-8; Doc. 27 at 9 (possible routes of inquiry falling

outside the phone calls).

      Senator Graham next argues that cajoling state-level executive branch

officials to implement their laws in accordance with the Senator’s preferences is

actually protected legislative activity, and that if it is not, it should be. Doc. 40-1 at

19. Recognizing that this Court may opt not to flout decades of Supreme Court

precedent, Senator Graham then insists that “[t]he District Attorney’s only

evidence of ‘cajoling’ is Secretary Raffensperger’s subjective assessment that, in

making his calls about electoral process, Senator Graham really wanted Secretary

Raffensperger to throw out ballots.” Id. Of course, this ignores the Senator’s own

statement to the media indicating that he had pressed Raffensperger to alter

Georgia’s processes. It also ignores this Court’s holding that questions about


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attempts to cajole Secretary Raffensperger are unquestionably outside the scope of

Clause protection. Doc. 27 at 15-16. The same can be said regarding the Senator’s

arguments regarding his own public statements, see Doc. 40-1 at 18-19, which are

unquestionably subject to questioning. Doc. 27 at 8-9.

       Senator Graham also claims that questions involving the senatorial runoff

elections are necessarily beyond the scope of the Special Purpose Grand Jury’s

authority to investigate. First, as a Senator, he is entitled to cajole state officials

regarding senatorial elections. This does not hold, however; Art. I, § 5, cl. 1 of the

Constitution only allows Members of Congress to determine whether constitutional

requirements such as age and residence have been met by other members. Powell

v. v. McCormack, 395 U.S. 486, 522 (1969). That clause therefore offers no

authority at all to a sitting Senator to micromanage another state’s signature

verification processes. Failing this, the Senator suggest that the runoff elections,

which took place on January 5, 2021, were somehow not related “directly or

indirectly” to the 2020 elections in Georgia. This argument is risible. The runoff

elections were the literal culmination of the 2020 elections in Georgia.

       Finally, the Senator makes his grandest argument of all: “this same analysis

applies to any other topic this Court, the District Attorney, or Amici can invent,

such as media appearances.” Doc. 40-1 at 22. If the topic involves the 2020

elections, it is an impermissible back door to questions about motives; if it does


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not, it falls outside the scope of the investigation. Thus, we finally arrive at the

place where we began: the Senator’s arguments for partial quashal inevitably slide

into an argument for total quashal. By the end of his argument he simply dispenses

with the pretense that he finds any possible topic of inquiry acceptable; literally all

topics (phone calls or not, public statements or not, efforts to cajole or not, etc) are

off limits. He stands above the power to be questioned. Because he cast a vote as

required of him under the Electoral Count Act, he can take any action he likes with

regard to the executive branch, and he cannot ever be ordered to answer questions

about those actions by the judicial branch, so long as he merely asserts that,

actually, it all stemmed from his legislative duties. This Court can therefore cease

wondering how closely the Senator gets to wading into the troublesome waters

described by Justice Stephens in United States v. Helstoski, 442 U.S. 477, 488 n.7

(1979) (see Doc. 27 at 15) or the Supreme Court’s warnings about “super-

citizens.” See Doc. 38 at 14. The Senator has finally jumped into those waters with

both feet.

                                   CONCLUSION

      The District Attorney asks once again that this Court deny Senator

Graham’s motion in order that he can appear before the Special Purpose Grand

Jury. The Senator has not identified any protected or privileged information that

is “required” by his subpoena and has instead insisted, not for the first time, that



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he cannot be subject to questioning in any way, much less in some “partial” way.

The Senator’s extreme position defies the facts, this Court’s holdings, Supreme

Court precedent, and the interests of the public. The District Attorney, on behalf

of the Special Purpose Grand Jury, requests that his motion be denied.

     Respectfully submitted, this 29th day of August 2022.

                                             FANI T. WILLIS
                                             DISTRICT ATTORNEY
                                             ATLANTA JUDICIAL CIRCUIT


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                      CERTIFICATE OF COMPLIANCE

     The undersigned counsel hereby certifies that this pleading complies with

the Local Rules of this Court, including Local Rules 5.1.C and 7.1.D (N.D. Ga.)

in that it is double-spaced and composed in 14-point Times New Roman font.

     This 29th day of August 2022.



                         CERTIFICATE OF SERVICE

     I hereby certify the foregoing was served upon the following by email:


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     Dated this 29th day of August, 2022.


                        s/ F. McDonald Wakeford
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